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                                          Bankruptcy Case Number: 22-32294


                                                        03088-TXN-DE-037249727




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on March 10, 2023, at 11:32 o'clock AM CST, Corey D Jones
completed a course on personal financial management given by telephone by
Debt Education and Certification Foundation, a provider approved pursuant to 11
U.S.C. 111 to provide an instructional course concerning personal financial
management in the Northern District of Texas.




Date:   March 10, 2023                    By:      /s/Crystal Towner


                                          Name: Crystal Towner


                                          Title:   Counselor
